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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNTIED STATES OF AMERICA,

v.                                          Case No. 5:12cr5-MW/CJK

WILLIE JAMES MORGAN,

          Defendant.
___________________________/

                    ORDER ACCEPTING AND ADOPTING
                     REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 916. Upon consideration, no objections having

been filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Defendant’s Motion to Vacate,

Set Aside, or Correct Sentence, ECF No. 737, is DENIED. A Certificate of

Appealability is DENIED.” The Clerk shall close the file.

       SO ORDERED on November 28, 2017.

                                      s/Mark E. Walker             ____
                                      United States District Judge
